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   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 2:18-CR-00058 JAM
11
                                   Plaintiff,             STIPULATION AND ORDER REGARDING
12                                                        RESTITUTION
                            v.
13                                                        DATE: August 27, 2019
     JOHN MICHAEL HERRON II,                              TIME: 9:15 a.m.
14                                                        COURT: Hon. John A. Mendez
                                  Defendant.
15

16
            The United States of America, by and through its counsel of record, and defendant John Michael
17
     Herron II, by and through his counsel Kresta Daly, hereby respectfully stipulate and request that the
18
     Court vacate the August 27, 2019 restitution hearing and order that the defendant pay restitution in the
19
     amount of $485,685.00, for the following reasons:
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            1.      On March 26, 2019, defendant pleaded guilty to Mail Fraud, in violation of 18 U.S.C. §
21
     1341, and Aggravated Identity Theft, in violation of 18 U.S.C. § 1028A. ECF 65.
22
            2.      Pursuant to the Plea Agreement, and pursuant to 18 U.S.C. § 3663A(c)(1)(A)(ii), the
23
     defendant agreed to pay the full amount of restitution to victims affected by his offenses, including full
24
     restitution to the California Employment Development Department (EDD) of approximately $485,685.
25
     ECF 67.
26
            3.      On June 25, 2019, defendant appeared before this Court for judgment and sentencing.
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     ECF 80. At this hearing, the Court indicated that it intended to order restitution, pursuant to 18 U.S.C.
28


      STIPULATION AND [PROPOSED] ORDER RE:                1
      RESTITUTION
                    Case 2:18-cr-00058-JAM Document 86 Filed 08/23/19 Page 2 of 4

 1 §§ 3663A and as agreed in the Plea Agreement, but deferred determination of the amount of restitution

 2 to allow the government additional time to gather information regarding identified victims that may have

 3 suffered losses.

 4             4.      The parties have met and conferred regarding the amount of restitution in this case.

 5 Pursuant to those discussions, the parties stipulate and agree that:

 6                     a)      EDD is a victim in this case, meaning it is an entity directly and proximately

 7             harmed as a result of the commission of the offense. 18 U.S.C. § 3663A.

 8                     b)      Defendant Michael Herron II shall be liable for restitution in the amount of

 9             $485,685 to EDD, a loss amount supported by a preponderance of evidence. Should any co-

10             defendants be convicted in this case, the restitution shall be joint and several with those

11             individuals.

12             5.      Defendant agrees to make payment as follows:

13                     a)      Payment shall be made by cashier’s check payable to the Clerk of the Court for

14             the Eastern District of California.

15                     b)      Payment of restitution during defendant’s imprisonment should be through the

16             Bureau of Prisons Inmate Financial Responsibility Program.

17                     c)      Pursuant to 18 U.S.C. §§ 3664(k) and 3572(d)(3), the defendant will notify the

18             court of any material change in the defendant’s economic circumstances that might affect the

19             defendant’s ability to pay.

20             6.      The parties agree that the defendant does not have the ability to pay interest, and that the

21 Court should waive interest on the restitution as a result.

22              IT IS SO STIPULATED.

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          STIPULATION AND [PROPOSED] ORDER RE:               2
          RESTITUTION
             Case 2:18-cr-00058-JAM Document 86 Filed 08/23/19 Page 3 of 4

 1   Dated: August 22, 2019                   MCGREGOR W. SCOTT
                                              United States Attorney
 2

 3                                            /s/ AMY SCHULLER HITCHCOCK
                                              AMY SCHULLER HITCHCOCK
 4                                            Assistant United States Attorney
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 6
                                              /s/ KRESTA DALY
 7   Dated: August 22, 2019                   KRESTA DALY
                                              Attorney for Defendant
 8                                            JOHN MICHAEL HERRON II
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     STIPULATION AND [PROPOSED] ORDER RE:    3
     RESTITUTION
                  Case 2:18-cr-00058-JAM Document 86 Filed 08/23/19 Page 4 of 4

 1
                                                      ORDER
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             The Court has reviewed the Stipulation of the parties for an order holding defendant John
 3
     Michael Herron II liable for restitution in the amount of $485,685.00. Based on that stipulation and the
 4
     defendant’s obligation to pay restitution pursuant to 18 U.S.C. §§ 3663A, the Court finds good cause to
 5
     so order. Accordingly, the Court orders as follows:
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             1.      The defendant shall pay restitution in the amount of $485,685.00 to the California
 7
     Employment Development Department. This restitution shall be joint and several with any other co-
 8
     defendants convicted in this case.
 9
             2.      Payment shall be made by cashier’s check payable to the Clerk of the Court for the
10
     Eastern District of California.
11
             3.      Payment of restitution during the defendant’s imprisonment shall be made through the
12
     Bureau of Prisons Inmate Financial Responsibility Program.
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             4.      The interest requirement is waived, as the defendant does not have the ability to pay
14
     interest.
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             5.      Pursuant to 18 U.S.C. § 3664(k), the defendant must notify the Court and the Attorney
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     General of any material change in his economic circumstances that might affect his ability to pay
17
     restitution.
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             6.      The hearing set for Monday, August 27, 2019, in this case is hereby vacated.
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                     SO ORDERED.
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     Dated: August 23, 2019
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                                                                   /s/ John A. Mendez
23                                                             Hon. John A. Mendez
                                                               United States District Court Judge
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       STIPULATION AND [PROPOSED] ORDER RE:                4
       RESTITUTION
